        Case 5:18-cv-02881-JLS
         Case:                 Document
               20-1291 Document:        54 1FiledDate
                                 1-1 Page:        02/11/20    Page 1 of 2
                                                      Filed: 02/11/2020



                                            OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT            UNITED STATES COURT OF APPEALS                     TELEPHONE
                                             FOR THE THIRD CIRCUIT                  215-597-2995
          CLERK                        21400 UNITED STATES COURTHOUSE
                                               601 MARKET STREET
                                          PHILADELPHIA, PA 19106-1790
                                       Website: www.ca3.uscourts.gov

                                            February 11, 2020


Hesham Ismail
19 15th Street
Burlington, NJ 08016


RE: Hesham Ismail v. Interstate Resources Inc, et al
Case Number: 20-1291
District Court Case Number: 5-18-cv-02881

PACER account holders are required to promptly inform the PACER Service
Center of any contact information changes. In order to not delay providing
notice to attorneys or pro se public filers, your information, including address,
phone number and/or email address, may have been updated in the Third
Circuit database. Changes at the local level will not be reflected at PACER.
Public filers are encouraged to review their information on file with PACER and
update if necessary.

To All Parties:

Enclosed is case opening information regarding the above-captioned appeal filed by Hesham
Ismail, docketed at No.20-1291. All inquiries should be directed to your Case Manager in
writing or by calling the Clerk's Office at 215-597-2995. This Court's rules, forms, and case
information are available on our website at http://www.ca3.uscourts.gov.

On December 1, 2009, the Federal Rules of Appellate and Civil Procedure were amended
modifying deadlines and calculation of time. In particular those motions which will toll the
time for filing a notice of appeal under Fed.R.App.P. 4(a)(4), other than a motion for
attorney's fees under Fed.R.Civ.P. 54, will be considered timely if filed no later than 28
days after the entry of judgment. Should a party file one of the motions listed in
Fed.R.App.P 4(a)(4) after a notice of appeal has been filed, that party must immediately
inform the Clerk of the Court of Appeals in writing of the date and type of motion that was
filed. The case in the court of appeals will not be stayed absent such notification.
        Case 5:18-cv-02881-JLS
         Case:                 Document
               20-1291 Document:        54 2FiledDate
                                 1-1 Page:        02/11/20    Page 2 of 2
                                                      Filed: 02/11/2020



Appellant

Docketing fees in the amount of $505.00 must be paid to the District Court upon filing of a
Notice of Appeal. If you cannot afford to pay the docketing fees, you must file a copy of a
Motion for Leave to Proceed In Forma Pauperis, together with an affidavit of poverty (form
enclosed) and a certificate of service.

You must pay the docketing fees or file the Motion for Leave to Proceed In Forma Pauperis
within fourteen (14) days from the date of this letter. If you do not pay the docketing fees or
file the Motion for Leave to Proceed In Forma Pauperis within fourteen (14) days, your
case may be dismissed without further notice. 3rd Cir. LAR Misc. 107.

Counsel for Appellee

As counsel for Appellee(s), you must file:
1. Application for Admission (if applicable);
2. Appearance Form
3. Disclosure Statement (except governmental entities)

These forms must be filed within fourteen (14) days from the date of this letter.

Attached is a copy of the full caption as it is titled in the District Court. Please review the caption
carefully and promptly advise this office in writing of any discrepancies.

Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/Laurie
Case Manager
267-299-4936

cc: Marjorie N. Kaye Jr.
John M. Nolan III

Enclosures:

Affidavit of Poverty
Information for Pro Se Litigants
